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         February 27, 2025

         Hon. Brian A. Jackson
         Russell B. Long Federal Building and United States Courthouse
         777 Florida Street, Suite 139
         Baton Rouge, LA 70801

                  Re:      Voice of the Experienced, et al., v. LeBlanc, et al., No. 3:23-cv-1304-BAJ-EWD

         Dear Judge Jackson,

                 We write on behalf of all parties in the above-captioned action to request a status
         conference to be held at the Court’s earliest convenience, concerning the Court’s February 27,
         2025 Order (the “Order”), ECF No. 193, and specifically, the evidentiary hearing contemplated
         therein.

                  In connection with Plaintiffs’ pending motion for class certification, ECF No. 120, the
         Order calls for a two-day evidentiary hearing at which “[p]ersons representing the full spectrum
         of the proposed classes may be examined by the Parties.” The Parties seek guidance from the
         Court concerning the scope of that hearing, including, for example, whether, in addition to
         testimony from plaintiffs and putative class members, expert testimony will be permitted and
         whether Defendants’ witnesses to the potentially ameliorative steps taken by LSP are
         contemplated. The parties also seek guidance concerning the timing for the exchange of witness
         and exhibit lists, and, if necessary, discovery into the same. Finally, in light of the adjournment
         of trial in this matter and the difficulty of scheduling the attendance of expert witnesses who may
         be called to testify at the evidentiary hearing, the parties respectfully request that the evidentiary
         hearing be adjourned to April 21, the date trial had been scheduled to begin.

                  Given the currently scheduled March 27 start date for the evidentiary hearing, the parties
         respectfully request that a status conference be called as soon as possible and thank the Court for
         its attention to these matters.

                                                        Respectfully submitted,

                                                        /s/ Jeremy Benjamin
                                                        Jeremy Benjamin

         cc:      All Counsel of Record (via ECF)
